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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,          ) Case No.: 1:12-CR-00284-AWI
                                        )
11             Plaintiff,               )
                                        )
12       vs.                            ) STIPULATION AND ORDER TO
                                        ) CONTINUE SENTENCING
13                                      )
                                        )
14                                      ) Date: March 4, 2013
     APOLINAR VERDUZCO-MEDINA,          ) Time: 10:00 a.m.
15                                      ) Hon. Anthony W. Ishii
               Defendant.               )
16

17       Plaintiff United States of America, by and through its
18   counsel of record, and defendant, by and through his counsel
19   of record, hereby stipulate as follows:
20       1. By previous order, this matter was set for sentencing
21   on March 4, 2013, at 10:00 a.m.
22       2. By this stipulation, defendant now moves to continue
23   the sentencing until April 8, 2013, at 10:00 a.m. and to
24   exclude time between March 4, 2013, and April 8, 2013, under
25   18 U.S.C.§ 3161(h)(7)(A), B(iv). Plaintiff does not oppose
26   this request.
27       3. The parties agree and stipulate, and request that the
28   Court find the following:
                                         - 1 -
                Stipulation and [Proposed] Order to Continue Sentencing
                             CASE NO.: 1:12-CR-00284-AWI
       Case 1:12-cr-00284-AWI-BAM Document 22 Filed 02/21/13 Page 2 of 3


 1             a. Due to the unavailability of counsel and the
 2         defendant has not been interviewed to determine if the
 3         safety valve provision of U.S.C. § 5(C)(1)(2) applies. The
 4         defendant is scheduled for this interview on February 20,
 5         2013.
 6             b. This continuance is needed in order to allow the
 7         defendant and the Probation Office to complete the
 8         Presentence Report based upon this interview.
 9             c. The government does not object to the continuance.
10             d. Based on the above-stated findings, the ends of
11         justice served by continuing the case as requested
12         outweigh the interest of the public and the defendant in a
13         trial within the original date prescribed by the Speedy
14         Trial Act.
15             e. For the purpose of computing time under the Speedy
16         Trial Act, 18 U.S.C. § 3161, et seq., within which trial
17         must commence, the time period of March 4, 2013, to April
18         8, 2013, inclusive, is deemed excludable pursuant to 18
19         U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a
20         continuance granted by the Court at defendant’s request on
21         the basis of the Court's finding that the ends of justice
22         served by taking such action outweigh the best interest of
23         the public and the defendant in a speedy trial.
24         4. Nothing in this stipulation and order shall preclude a
25   finding that other provisions of the Speedy Trial Act dictate
26   that additional time periods are excludable from the period
27   within which a trial must commence.
28   ///
                                            - 2 -
                   Stipulation and [Proposed] Order to Continue Sentencing
                                CASE NO.: 1:12-CR-00284-AWI
                           Case 1:12-cr-00284-AWI-BAM Document 22 Filed 02/21/13 Page 3 of 3


 1   IT IS SO STIPULATED.
 2
     Dated: February 19, 2013
 3
                                                                /s/ Elana S. Landau
 4
                                                                Assistant United States
 5
                                                                Attorney

 6
     Dated: February 19, 2013
 7
                                                                /s/ Anthony P. Capozzi
 8
                                                                Anthony P. Capozzi
 9
                                                                Attorney for
                                                                APOLINAR VERDUZCO-MEDINA
10

11                                                         ORDER
12

13                           For reasons set forth above, the continuance requested by
14   the parties is granted for good cause and time is excluded
15   under the Speedy Trial Act from March 4, 2013, to, and
16   including, April 8, 2013, based upon the Court’s finding that
17   the ends of justice outweigh the public’s and defendant’s
18   interest in a speedy trial. 18 U.S.C. §3161(h)(7)(A).
19                           IT IS ORDERED that the Sentencing currently scheduled on
20   March 4, 2013, at 10:00 a.m. is continued to April 8, 2013,
21   at 10:00 a.m.
22

23

24   IT IS SO ORDERED.

25   Dated: February 20, 2013
                                                         SENIOR DISTRICT JUDGE
26   DEAC_Signature-END:




27   0m8i788
28

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                                    Stipulation and [Proposed] Order to Continue Sentencing
                                                 CASE NO.: 1:12-CR-00284-AWI
